                 Case 1:00-cr-00015-PLM
 Order of Detention Pending Revocation Hearing
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                                                  WESTERN DISTRICT OF MICHIGAN
  UNITED STATES OF AMERICA                                                                  ORDER OF DETENTION PENDING
                     v.                                                                     REVOCATION HEARING
  PIO FERNANDEZ                                                                             Case Number: 1:00-CR-15

        In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
  require the detention of the defendant pending revocation hearing in this case.
                                                                Part I - Findings of Fact
           (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                    offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                    existed) that is
                          a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                         a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                         U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
          (2)     The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                  offense.
          (3)     A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                  the offense described in finding (1).
          (4)     Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                  assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                  presumption.
                                                                  Alternate Findings (A)
  ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                    ✘       for which a maximum term of imprisonment of ten years or more is prescribed in 21 USC 801, et seq.
                            under 18 U.S.C.§924(c).
          (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                   reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                  Alternate Findings (B)
  ✘       (1)     There is a serious risk that the defendant will not appear.
          (2)     There is a serious risk that the defendant will endanger the safety of another person or the community.
                   Defendant is charged with consuming alcohol on August 23, 2008, which defendant states was due to the fact he
                   was celebrating his then-impending termination of supervised release five days later. He stated that he would
                   not have shown up for the test if he thought the alcohol would have been revealed. On Fri., August 29th,
                   defendant was told to turn himself in, but waited an additional six days to do so, and during the intervening
                   period missed a urine drop on September 2nd. This was over the Labor Day weekend.

                                 Part II - Written Statement of Reasons for Detention
Defendant has failed to show by clear and convincing evidence that he will appear for future proceedings as directed. At best,
it appears defendant will appear on his own terms, and that appears to be when he feels he will not test positive for alcohol. As
long as defendant remains on supervised release, however, he is required to conform his behavior to the court's requirements
and not his own.


                                             Part III - Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On
order of a court of the United States or on request of an attorney for the Government, the person in charge of the corrections
facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a court
proceeding.


 Dated:         September 9, 2008                                              /s/ Hugh W. Brenneman, Jr.
                                                                                                             Signature of Judicial Officer
                                                                               Hugh W. Brenneman, Jr., United States Magistrate Judge
                                                                                                         Name and Title of Judicial Officer

       *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
 (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
